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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                  Plaintiffs,                                 4:15CR3038
     vs.
                                                                ORDER
ALBERT SCHOENTHAL,
                  Defendants.




     1)    By no later than 8:00 a.m. on June 23, 2015, the Marshall shall release the
           defendant to the Federal Public Defender or one of its staff members for
           transport to residential treatment at the Veterans Hospital in Grand Island,
           Nebraska.

     2)    The defendant shall comply with all terms of the order setting defendant’s
           conditions of release which was entered on . (See filing no. 40).

     June 22, 2015.

                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
